        Case 4:20-cv-00008-AT Document 410 Filed 12/11/20 Page 1 of 10




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                              ROME DIVISION

JARROD JOHNSON,

           Plaintiff,                        CIVIL ACTION NO.: 4:20-cv-0008-AT

v.

3M COMPANY, et al.,

           Defendants.


           DEFENDANT CYCLE-TEX, INC.’S INITIAL DISCLOSURES

      Defendant Cycle-Tex, Inc. (“Cycle-Tex”), pursuant to Fed. R. Civ. P. 26 and

L.R. 26.1, without submitting to the jurisdiction of this Court or waiving its

objection to the jurisdiction of this Court, submits its initial disclosures as follows:

      1.      If the defendant is improperly identified, state defendant’s correct

identification and state whether defendant will accept service of an amended

summons and complaint reflecting the information furnished in this disclosure

response.

      Not applicable to Cycle-Tex.1




1Cycle-Tex is no longer a corporation organized under Georgia law. On
November 5, 2018, Cycle-Tex filed a petition for relief under Chapter 11 of the
Bankruptcy Code. In re: Cycle-Tex, Inc., Case No. 18-42614-PWB (Bankr. N.D.
Ga.). In 2019, Cycle-Tex sold its assets and closed operations. Cycle-Tex was
administratively dissolved on October 22, 2020.
       Case 4:20-cv-00008-AT Document 410 Filed 12/11/20 Page 2 of 10




      2.    Provide the names of any parties whom defendant contends are

necessary parties to this action, but who have not been named by plaintiff. If

defendant contends that there is a question of misjoinder of parties, provide the

reasons for defendant’s contention.

      None known at this time.

      3.    Provide a detailed factual basis for the defense or defenses and any

counterclaims or crossclaims asserted by defendant in the responsive pleading.

      Cycle-Tex has not asserted counterclaims or crossclaims at this time.

      Plaintiff claims that Cycle-Tex and other defendants discharged wastewater

containing per- and polyfluoroalkyl substances (“PFAS”) in the Dalton Publicly

Owned Treatment Works (“POTW”) which allegedly contaminated Plaintiff’s

water sources.   Cycle-Tex’s facilities, located in Dalton, Georgia and Rome,

Georgia were not located on or near the Conasauga River, Ooostanula River, or

Coosa River. In addition, Cycle-Tex has never manufactured, purchased, stored,

or handled any chemicals or products containing PFAS nor did it discharge

wastewater containing PFAS into the water bodies at issue in the Plaintiff’s

operative complaint. Therefore, this Court lacks subject matter jurisdiction over

Plaintiff’s claims against Cycle-Tex because Plaintiff’s injuries are not fairly

traceable to Cycle-Tex. Further, Cycle-Tex refers to its Motion to Dismiss and the

arguments incorporated therein [Docs. 300 to 300-1; 308 to 308-5; 403].




                                       -2-
        Case 4:20-cv-00008-AT Document 410 Filed 12/11/20 Page 3 of 10




      4.     Describe in detail all statutes, codes, regulations, legal principles,

standards and customs or usages, and illustrative case law which defendant

contends are applicable to this action.

      Cycle-Tex relies on the statutes and legal principles referenced in its Motion

to Dismiss [Docs. 300 to 300-1; 308 to 308-5; 403], as well as the applicable statutes,

codes, legal principles, legal standards, case law, defenses, and arguments asserted

by the other defendants that are the subject of PFAS-related allegations for

discharges purportedly affecting the City of Rome, Georgia’s and Floyd County,

Georgia’s water supplies, given that those other defendants’ pleadings contain

detailed descriptions of the legal principles and case law that are generally

applicable to this action. Cycle-Tex reserves the right to supplement its legal

arguments as this litigation progresses.

      5.     Provide the name and, if known, the address and telephone number

of each individual likely to have discoverable information that you may use to

support your claims or defenses, unless solely for impeachment, identifying the

subjects of the information. (Attach witness list to Initial Disclosures as

Attachment A.)

      See Attachment A.

      6.     Provide the name of any person who may be used at trial to present

evidence under Rules 702, 703, or 705 of the Federal Rules of Evidence. For all




                                          -3-
       Case 4:20-cv-00008-AT Document 410 Filed 12/11/20 Page 4 of 10




experts described in Fed.R.Civ.P. 26(a)(2)(B), provide a separate written report

satisfying the provisions of that rule. (Attach expert witness list and written

reports to Initial Disclosures as Attachment B.)

      Cycle-Tex has not yet identified any witness(es) who may be used at trial to

present evidence under Rules 702, 703, or 705 of the Federal Rules of Evidence. In

addition, Cycle-Tex has not yet determined whether Cycle-Tex will identify any

testifying expert witness(es) subject to the disclosure requirements of

Fed.R.Civ.P.26(a)(2)(B). Cycle-Tex will timely amend this disclosure consistent

with the Federal Rules of Civil Procedure and in accordance with the Court’s Case

Management Order.

      7.    Provide a copy of, or description by category and location of, all

documents, data compilations or other electronically stored information, and

tangible things in your possession, custody, or control that you may use to

support your claims or defenses unless solely for impeachment, identifying the

subjects of the information. (Attach document list and descriptions to Initial

Disclosures as Attachment C.)

      See Attachment C.

      8.    In the space provided below, provide a computation of any category

of damages claimed by you. In addition, include a copy of, or describe by

category and location of, the documents or other evidentiary material, not




                                       -4-
        Case 4:20-cv-00008-AT Document 410 Filed 12/11/20 Page 5 of 10




privileged or protected from disclosure on which such computation is based,

including materials bearing on the nature and extent of injuries suffered,

making such documents or evidentiary material available for inspection and

copying under Fed.R.Civ.P. 34 (Attach any copies and descriptions to Initial

Disclosures as Attachment D.)

      Not applicable to Cycle-Tex.

      9.     If defendant contends that some other person or legal entity is, in

whole or in part, liable to the plaintiff or defendant in this matter, state the full

name, address, and telephone number of such person or entity and describe in

detail the basis of such liability.

      Cycle-Tex does not presently contend that any party is liable to it or Plaintiff

in this matter but will timely amend this disclosure consistent with the Federal

Rules of Civil Procedure and in accordance with the Court’s Case Management

Order in the event that new information arises during discovery that alters its

position.

      10.    Attach for inspection and copying as under Fed.R.Civ.P. 34 any

insurance agreement under which any person carrying on an insurance business

may be liable to satisfy part or all of a judgment which may be entered in this

action or to indemnify or reimburse for payments to satisfy the judgment.

(Attach copy of insurance agreement to Initial Disclosures as Attachment E.)




                                        -5-
        Case 4:20-cv-00008-AT Document 410 Filed 12/11/20 Page 6 of 10




      Cycle-Tex will produce the declaration page for any applicable insurance

policy(ies) at a mutually agreeable date, time, and location to be determined by

the parties.



Dated: December 11, 2020          Respectfully submitted,

                                  BAKER & HOSTETLER LLP


                            By:   /s/ Ronald B. Gaither, Jr.
                                  Ronald B. Gaither, Jr. (282292)
                                  BAKER & HOSTETLER LLP
                                  1170 Peachtree Street, Suite 2400
                                  Atlanta, GA 30309-7676
                                  Telephone: 404.459.0050
                                  Facsimile: 404.459.5734
                                  rgaither@bakerlaw.com

                                  Douglas A. Vonderhaar (87933) (pro hoc vice)
                                  Kayla M. Prieto (92090) (pro hoc vice)
                                  BAKER & HOSTETLER LLP
                                  200 Civic Center Drive, Suite 1200
                                  Columbus, OH 43215-4138
                                  Telephone: 614.228.1541
                                  Facsimile: 614.462.2616
                                  dvonderhaar@bakerlaw.com
                                  kprieto@bakerlaw.com

                                  Attorneys for Defendant Cycle-Tex, Inc.




                                      -6-
        Case 4:20-cv-00008-AT Document 410 Filed 12/11/20 Page 7 of 10




                                ATTACHMENT A

       Cycle-Tex identifies the following individuals who may have discoverable

information that Cycle-Tex may use to support its defenses, unless solely used for

impeachment:

       1.   Jarrod Johnson: As the named Plaintiff, Mr. Johnson has knowledge

relating to the claims asserted by him, and others purportedly similarly situated,

in this case. Mr. Johnson can be contacted through his counsel.

       2.    Phillip Neff, Former Chief Executive Officer and Founder of Cycle-

Tex: Mr. Neff founded Cycle-Tex in 1989 and ran the company until it closed in

2019. He has knowledge relating to Cycle-Tex’s business operations and its

manufacturing processes. Mr. Neff can be contacted through counsel for Cycle-

Tex.

       3.   Jerry Dolan, Former Chief Financial Officer: Mr. Dolan has

knowledge relating to Cycle-Tex’s business operations and its manufacturing

processes. Mr. Dolan can be contacted through counsel for Cycle-Tex.

       4.   Cycle-Tex incorporates by reference the names of individuals

disclosed in Co-Defendants’ and Plaintiff’s witness lists.




                                        -7-
        Case 4:20-cv-00008-AT Document 410 Filed 12/11/20 Page 8 of 10




                                ATTACHMENT C

      Following is a description by category of all documents, data compilations,

or other electronically stored information and tangible things in Cycle-Tex’s

possession, custody, or control that it may use to support its defenses, unless solely

for impeachment. The documents listed below are in Cycle-Tex’s possession:

       Affidavit of Phillip Neff dated November 25, 2020.

       Cycle-Tex continues to review and assess what, if any, documents

         remain from the dissolved entity. Cycle-Tex will amend these disclosures

         should it identify additional categories of documents.




                                         -8-
         Case 4:20-cv-00008-AT Document 410 Filed 12/11/20 Page 9 of 10




                       CERTIFICATION UNDER L.R. 7.1D

        Pursuant to Northern District of Georgia Local Rule 7.1D, the undersigned

counsel for Cycle-Tex, Inc. hereby certifies that the foregoing filing is a computer

document prepared in Book Antiqua (13 point) font in accordance with Local Rule

5.1B.

                                            /s/ Ronald B. Gaither, Jr.
                                           Ronald B. Gaither, Jr. (282292)

                                           Attorney for Defendant Cycle-Tex, Inc.




                                        -9-
       Case 4:20-cv-00008-AT Document 410 Filed 12/11/20 Page 10 of 10




                           CERTIFICATE OF SERVICE

      This is to certify that on December 11, 2020, a true and correct copy of the

foregoing was electronically filed with the Clerk of Court using the CM/ECF

system, which will send notification of such filing to all parties of record.


                                              /s/ Ronald B. Gaither, Jr.
                                             Ronald B. Gaither, Jr. (282292)

                                             Attorney for Defendant Cycle-Tex, Inc.




                                        - 10 -
